Case 8:12-cr-00288-JSM-MAP Document 705 Filed 08/03/15 Page 1 of 2 PageID 1768


                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 UNITED STATES OF AMERICA

 vs.                                         CASE NO: 8:12-cr-288-T-EAK-MAP

 BEVERLY GAMBLE
 ______________________________/


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
               18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        Before the Court is the defendant’s motion to reduce her prison term under 18 U.S.C.

 § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

 §1B1.10(d) (2014). Doc . 704. The United States does not oppose a reduction. Doc. 704. The

 parties stipulate that she is eligible for a reduction because Amendment 782 reduces the

 guideline range applicable to her, see USSG §1B1.10(a)(1). Doc. 704. The Court agrees that

 she is eligible for a reduction and adopts the amended guideline calculations in the parties’

 stipulation. Doc. 704.

        Having reviewed the facts in both the original presentence investigation report and the

 June 24, 2015 memorandum from the United States Probation Office in light of the factors

 in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger

 posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a

 reduction of 9 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the

 practical difficulties of a possible release date on Sunday, November 1, 2015, the effective

 date of this order is November 2, 2015.

        Thus:

                                              -1-
Case 8:12-cr-00288-JSM-MAP Document 705 Filed 08/03/15 Page 2 of 2 PageID 1769


      1.     The Court grants the defendant’s motion, Doc. 704.

      2.     The Court reduces the defendant’s prison term from 57 to 48 months or

             time served, whichever is greater.

      3.     The effective date of this order is November 2, 2015.

      DONE and ORDERED in Chambers, Tampa, Florida on August 3, 2015.




      Copies to:

      Counsel of Record
      Magistrate Judge
      United States Marshals Service
      United States Probation Office
      United States Pretrial Services




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